EXHIBIT A
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


ALIGN TECHNOLOGY, INC.,

                      Plaintiff,

       v.

CLEARCORRECT OPERATING, LLC,
CLEARCORRECT HOLDINGS, INC., &
INSTITUT STRAUMANN AG,

                      Defendants.


                                                        Case No. 6:24-cv-00187-ADA-DTG
CLEARCORRECT OPERATING, LLC,
CLEARCORRECT HOLDINGS, INC., &
STRAUMANN USA, LLC,

                      Counterclaim-Plaintiffs,

       v.

ALIGN TECHNOLOGY, INC.,

                      Counterclaim-Defendant.




                                    SCHEDULING ORDER 1




1
  The parties are meeting and conferring on adjusted service and filing deadlines, including for
filing of redacted documents. The parties hope to be able to reach agreement and will reach out to
the Court for guidance if needed.
                                                 1
 Align           ClearCorrect                                              Item
Proposal           Proposal
                                 Plaintiff serves preliminary 2 infringement contentions in the form of a chart setting
                                 forth where in the accused product(s) each element of the asserted claim(s) are
                                 found. Plaintiff shall also identify the earliest priority date (i.e., the earliest date of
             7/18/24
                                 invention) for each asserted claim and produce: (1) all documents evidencing
                                 conception and reduction to practice for each claimed invention, and (2) a copy of
                                 the file history for each patent in suit.
                                 The Parties shall file a motion to enter an agreed Scheduling Order. If the parties
                                 cannot agree, the parties shall submit a separate Joint Motion for entry of
             7/22/24             Scheduling Order briefly setting forth their respective positions on items where
                                 they cannot agree. Absent agreement of the parties, the Plaintiff shall be
                                 responsible for the timely submission of this and other Joint filings.
                                 Written and document discovery opens on non-patent claims; deadline to serve
  n/a                  8/8/24
                                 Rule 26(a) disclosures on non-patent claims. 3
                                 Deadline to file a motion to transfer. After this deadline, movants must seek leave
             8/15/24
                                 of Court and show good cause for the delay.
                                 Plaintiff files response to Counterclaim-Plaintiff’s counterclaims set forth in ECF
             9/13/24
                                 No. 49.
                                 Defendant serves preliminary invalidity contentions in the form of (1) a chart
                                 setting forth where in the prior art references each element of the asserted claim(s)
                                 are found, (2) an identification of any limitations the Defendant contends are
                                 indefinite or lack written description under section 112, and (3) an identification of
             9/26/24             any claims the Defendant contends are directed to ineligible subject matter under
                                 section 101. Defendant shall also produce (1) all prior art referenced in the
                                 invalidity contentions, and (2) technical documents, including software where
                                 applicable, sufficient to show the operation of the accused product(s).
             10/3/24             Parties exchange claim terms for construction.
            10/10/24             Parties exchange proposed claim constructions.
                                 Deadline for Align to narrow claim assertion from 183 claims to 75 claims total.
  n/a              10/17/24      Parties to also discuss and meet-confer on reasonable narrowing of prior art and
                                 timing of same.
            10/17/24             Parties disclose extrinsic evidence. The parties shall disclose any extrinsic
                                 evidence, including the identity of any expert witness they may rely upon with


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           The parties may amend preliminary infringement contentions and preliminary invalidity
        contentions without leave of court so long as counsel certifies that it undertook reasonable efforts
        to prepare its preliminary contentions and the amendment is based on material identified after those
        preliminary contentions were served and should do so seasonably upon identifying any such
        material. Any amendment to add patent claims requires leave of court so that the Court can address
        any scheduling issues.
        3
            Events denoted in blue are proposed by ClearCorrect but not Align.
                                                           2
 Align          ClearCorrect                                            Item
Proposal          Proposal
                                respect to claim construction or indefiniteness. With respect to any expert
                                identified, the parties shall identify the scope of the topics for the witness’s
                                expected testimony. 4 With respect to items of extrinsic evidence, the parties shall
                                identify each such item by production number or produce a copy of any such item
                                if not previously produced.
                                Deadline to meet and confer to narrow terms in dispute and exchange revised list
            10/24/24
                                of terms/constructions.
                                Defendant files Opening claim construction brief, including any arguments that
            10/31/24
                                any claim terms are indefinite.
            11/21/24            Plaintiff files Responsive claim construction brief.
                                Parties to jointly email the law clerks (see OGP at 1) to confirm their Markman
            12/5/24             date and to notify if any venue or jurisdictional motions remain unripe for
                                resolution
             12/5/24            Defendant files Reply claim construction brief.
            12/19/24            Plaintiff files a Sur-Reply claim construction brief.
                                Parties submit Joint Claim Construction Statement and email the law clerks an
                                editable copy.
             1/5/25
                                See General Issues Note #9 regarding providing copies of the briefing to the Court
                                and the technical advisor (if appointed).
                                Parties submit optional technical tutorials to the Court and technical advisor (if
            1/10/25
                                appointed).
                                Markman Hearing at 9:00 a.m. 5 This date is a placeholder and the Court may
            1/22/25
                                adjust this date as the Markman hearing approaches.
                                Substantial completion deadline for document production in connection with non-
  n/a                 1/22/25
                                patent claims.
                                Fact Discovery opens on [Align: all / ClearCorrect: patent] claims; deadline to
            1/23/25             serve Initial Disclosures on [Align: all / ClearCorrect: patent] claims per Rule
                                26(a).
             3/6/25             Deadline to add parties.
                                Deadline to serve Final Infringement Contentions. After this date, leave of Court is
                                required for any amendment to infringement contentions. This deadline does not
            3/20/25
                                relieve the parties of their obligation to seasonably amend if new information is
                                identified after initial contentions.


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         Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied
        upon by the other party.
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         All deadlines hereafter follow the original Markman hearing date and do not change if the Court
        delays the Markman hearing.
                                                         3
 Align        ClearCorrect                                             Item
Proposal        Proposal
                              Deadline for Align to narrow claim assertion from 75 claims to 40 claims total.
  n/a            3/20/25      Parties to also discuss and meet-confer on reasonable narrowing of prior art and
                              timing of same.
                              Deadline to serve Final Invalidity Contentions. After this date, leave of Court is
                              required for any amendment to invalidity contentions. This deadline does not
3/20/25          4/17/25
                              relieve the parties of their obligation to seasonably amend if new information is
                              identified after initial contentions.
                              Deadline to amend pleadings. A motion is not required unless the amendment adds
           5/15/25            patents or patent claims. (Note: This includes amendments in response to a 12(c)
                              motion.)
                              Deadline for the first of two meet and confers to discuss significantly narrowing
                              the number of claims asserted and prior art references at issue. Unless the parties
           7/24/25
                              agree to the narrowing, they are ordered to contact the Court’s law clerk to arrange
                              a teleconference with the Court to resolve the disputed issues.
         8/21/25              Close of Fact Discovery.
 8/28/25        9/25/25       Opening Expert Reports.
 9/25/25        11/6/25       Rebuttal Expert Reports.
10/16/25        12/4/25       Close of Expert Discovery.
                              Deadline for the second of two meet and confers to discuss narrowing the number
                              of claims asserted and prior art references at issue to triable limits. If it helps the
                              parties determine these limits, the parties are encouraged to contact the Court’s
10/23/25         12/11/25
                              law clerk for an estimate of the amount of trial time anticipated per side. The
                              parties shall file a Joint Report within 5 business days regarding the results of the
                              meet and confer.
                              Dispositive motion deadline and Daubert motion deadline.

                              Deadline for parties desiring to consent to trial before the magistrate judge to
10/30/25         12/18/25     submit Form AO 85, “Notice, Consent, And Reference Of A Civil Action To A
                              Magistrate Judge,” available at https://www.uscourts.gov/forms/civilforms/notice-
                              consent-and-reference-civil-action-magistratejudge.
                              Serve Pretrial Disclosures (jury instructions, exhibits lists, witness lists, deposition
11/13/25             1/2/25
                              designations).
11/26/25         1/16/26      Serve objections to pretrial disclosures/rebuttal disclosures.
                              Parties to jointly email the Court’s law clerk (See OGP at 1) to confirm their
11/26/25         1/23/26
                              pretrial conference and trial dates.
12/4/25          1/23/26      Serve objections to rebuttal disclosures; file motions in limine.
                              File Joint Pretrial Order and Pretrial Submissions (jury instructions, exhibits lists,
                              witness lists, deposition designations); file oppositions to motions in limine.
12/11/25         1/30/26


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 Align      ClearCorrect                                               Item
Proposal      Proposal
                             From this date onwards, the parties are obligated to notify the Court of any
                             changes to the asserted patents or claims. Such notification shall be filed on the
                             docket within seven (7) days of the change and shall include a complete listing of
                             all asserted patents and claims. If a change to the asserted patents or claims
                             requires leave of court (for example, if a party is moving for leave to assert
                             additional claims), notification shall not be required until the Court grants leave, at
                             which point the notification must be filed within seven (7) days.
                             File Notice of Request for Daily Transcript or Real Time Reporting. If a daily
                             transcript or real time reporting of court proceedings is requested for trial, the
12/18/25        2/6/26       party or parties making said request shall file a notice with the Court and email the
                             Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com Deadline to file replies
                             to motions in limine.
                             Deadline to meet and confer regarding remaining objections and disputes on
12/23/25       2/13/26
                             motions in limine.
                             File joint notice identifying remaining objections to pretrial disclosures and
 1/5/26        2/24/26
                             disputes on motions in limine.
 1/8/26        2/27/26       Final Pretrial Conference. Held in person unless otherwise requested.
1/21/26        3/20/26       Jury Selection/Trial. 6


     SIGNED this ______ day of __________, 2024.


                                                            _____________________________________
                                                            DEREK T. GILLILAND
                                                            UNITED STATES MAGISTRATE JUDGE




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      If the actual trial date materially differs from the Court’s default schedule, the Court will consider
     reasonable amendments to the case schedule post-Markman that are consistent with the Court’s
     default deadlines in light of the actual trial date.
                                                       5
